Case 1:22-md-03044-NGG-MMH   Document 376-15   Filed 07/28/23   Page 1 of 6 PageID
                                  #: 5199




                              Exhibit D
Division of Corporations - Filing
                 Case 1:22-md-03044-NGG-MMH                                            Document 376-15 Filed 07/28/23 Page 2 of 6 PageID
   Delaware.gov                                                                             #: 5200 Governor | General Assembly | Courts | Elected Officials | State Agencies
                                                                                                                    Photo: Featured Delaware Photo




   Department of State: Division of Corporations
                                                                                                                                                                           Allowable Characters

   HOME                                                                                                                                Entity Details

                                                                                                                THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                                              Incorporation Date /          10/18/2017
                                                                 File Number:                             6581810
                                                                                                                                  Formation Date:           (mm/dd/yyyy)

                                                                 Entity Name:                             OSTEON HOLDINGS, INC.

                                                                 Entity Kind:                             Corporation                    Entity Type:       General

                                                                 Residency:                               Domestic                                 State:   DELAWARE


                                                                 REGISTERED AGENT INFORMATION


                                                                 Name:                                    MAPLES FIDUCIARY SERVICES (DELAWARE) INC.

                                                                 Address:                                 4001 KENNETT PIKE, SUITE 302

                                                                 City:                                    WILMINGTON                            County:     New Castle

                                                                 State:                                   DE                           Postal Code:         19807

                                                                 Phone:                                   302-338-9793


                                                                 Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                                 more detailed information including current franchise tax assessment, current filing history
                                                                 and more for a fee of $20.00.
                                                                 Would you like                  Status        Status,Tax & History Information

                                                                      Submit




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https://icis.corp.delaware.gov/ecorp/entitysearch/NameSearch.aspx[7/11/2023 12:10:31 PM]
Division of Corporations - Filing
                 Case 1:22-md-03044-NGG-MMH                                           Document 376-15 Filed 07/28/23 Page 3 of 6 PageID
   Delaware.gov                                                                            #: 5201 Governor | General Assembly | Courts | Elected Officials | State Agencies
                                                                                                                   Photo: Featured Delaware Photo




   Department of State: Division of Corporations
                                                                                                                                                                          Allowable Characters

   HOME                                                                                                                               Entity Details

                                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                                             Incorporation Date /          10/18/2017
                                                                File Number:                             6581817
                                                                                                                                 Formation Date:           (mm/dd/yyyy)

                                                                Entity Name:                             OSTEON INTERMEDIATE HOLDINGS II, INC.

                                                                Entity Kind:                             Corporation                    Entity Type:       General

                                                                Residency:                               Domestic                                 State:   DELAWARE


                                                                REGISTERED AGENT INFORMATION


                                                                Name:                                    MAPLES FIDUCIARY SERVICES (DELAWARE) INC.

                                                                Address:                                 4001 KENNETT PIKE, SUITE 302

                                                                City:                                    WILMINGTON                            County:     New Castle

                                                                State:                                   DE                           Postal Code:         19807

                                                                Phone:                                   302-338-9793


                                                                Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                                more detailed information including current franchise tax assessment, current filing history
                                                                and more for a fee of $20.00.
                                                                Would you like                  Status        Status,Tax & History Information

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         Case 1:22-md-03044-NGG-MMH                               Document 376-15                        Filed 07/28/23                    Page 4 of 6 PageID
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                                                  Fax Number       (850)617-6381


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                                                  Account Number             110432003053
                                                  Phone                         (561)694-8107
                                                  Fax Number                    (561)694-16.39


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                                        FLORIDA PROFIT/NON PROFIT CORPORATION
                                                  Osteon Merger Sub, Inc.
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                                               ARTICLES OF lNCORPORATIO~
                                 In COffll)!i1mcc ...,;th Chapter 607 and/or Chapt.er 621, f .S. (Profit)

      ARTICLE/      NAME .               Osleon Merger Sub, Inc.
      The name ofthe corporation wll be:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      ARTICLE II     PRINCIPAL OF,El,CE,
                           Priucipal street address                                         MmlU!i ad,;tress, if different is:
      30 l Comme:ai Strut, Suiw 3300
      Fort Worth, Tcxns 76102




      AR T[CU! /11 PURPOSE                                  MCT"ger Sub Entity
      The PUll>OSC for which the corporation is organized is: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                                                 -.,


                                                                                                                                 .J
      ARTICLE IV SHARES                1000 C.Ommon Stock
      The nV1mer of6here5 of Sklclt is: _ _ _ _ _ _ _ _ _ _ _ _ __


      ART/aE V       INITIAL OFFJ,CERS dlfDIQR DlR§CIQRS
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             ,.,
             .~amc M d T'1t1c: _
                               Michael
                                 _ _ LaOatta
                                       _____ Director                  . _
                                               _ _ _ _ _ _ Name 1111d Title:   _ Murphy
                                                                             K.c;n _ _ _ _Director
                                                                                          _ _ _ _ _ __
                            30 l Comma= Scroct. Suite :nOO                                    301 Comrocrcc Street, Suite 3300
              Address       - - - - ' - - - - - - - - - - Ad~~:
                            Fort Worth. Tc;,;as 76102                                         Port Wonh, Tellas 76102




             Name w,d Tilh::_ _ _ _ _ _ _ _ _ _ _ _ _ _ NDnM: and Title: _ _ _ _ _ _ _ _ _ _ _ __

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             Name and Title: _ _ _ _ _ _ _ _ _ _ _ _ _ _ Na.me and Title:_ _ _ _ _ _ _ _ _ _ _ __

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  Case 1:22-md-03044-NGG-MMH                                Document 376-15                    Filed 07/28/23                Page 6 of 6 PageID
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              Name 1md Tille: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Name and Title: _ _ _ _ _ _ _ _ _ _ _ _ __

               Addre,s          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Addresi;:




      ARTICLE n        REGTSTEREDAGENI
      The nllfM and Floridii meet address (P.O. Box NOT accep!ilble) ofthe registered agent is:
                          Corporate Creuion£ Network Inc.
      Name:
                           11380 Prosperity Fllmlll Road 122IE
      Address:
                          Palm B~h Garrkm, FL 33410


      ARTICLE VII ll!'CQRl'QRAlVR
     The name and 11ddrc,1 of the (ncorporntOT i~:
                             Michael laGattll

                               301 Commerce Street. Suite 3300
          Address:
                              Fort Worth, TIDl:i& 76102



      ARTICLE VIII EFFECTIVE DATE:
      Effective dote, if other than the date of filing: _ _ _ _ _ _ _ _ _ _ _ _ . (OPTIONAL)
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